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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               SOUTHERN DIVISION

ONLY AL-KHIDHR                                                                        PLAINTIFF

VERSUS                                                CAUSE NO.: 1:07-CV-01223-LG-RHW

HARRISON COUNTY, MISSISSIPPI, et al                                                 DEFENDANTS

                  PLAINTIFF’S RESPONSE TO DEFENDANT GEORGE
                   PAYNE’S MOTION FOR SUMMARY JUDGMENT

       COMES NOW Plaintiff, Only Al-Khidhr, by and through his attorney of record, Alvin

Chase, and files this his Response to Defendant George Payne’s Motion for Summary, and

would show unto this Honorable Court the following, to-wit:

       1.      Plaintiff’s arguments and authorities in support of his Response to Defendant

George Payne’s Motion for Summary Judgment are more fully set forth in the accompanying

Memorandum in Support of Plaintiff’s Opposition to Defendant George Payne’s Motion for

Summary Judgment.

       2.      Supporting Plaintiff’s Response are the following exhibits in addition to [241-1]

Affidavit of Sheriff George Payne, Jr., to include the exhibits attached thereto:

               Exhibit “1”    Uniform Arrest/Booking Form, 10/04/05; HCSD Narrative Form,

       Reporting Officer Moore, 10/04/05; Use of Force Report, 10/04/05; Booking Intake

       medical Questionnaire, 10/04/05; Health Assurance, LLC, Nurses’ Notes, 10/04/05

               Exhibit “2”    Criminal Bill of Information, Plea Agreement, and Transcript of

       Plea Hearing in USA v. Morgan Thompson, Criminal No. 1:06cr116, US District Court,

       Southern District of Mississippi, Southern Division
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              Exhibit “3”    Criminal Information and Judgment in Criminal Case in USA v.

       Timothy Brandon Moore, Criminal No. 1:07cr68, US District Court, Southern District of

       Mississippi, Southern Division

              Exhibit “4”    Excerpt of George Payne’s Deposition in Kasey D. Alves vs.

       Harrison County Mississippi, et al, Civil No. 1:06cv912, US District Court for the

       Southern District Court of Mississippi, Southern Division

              Exhibit “5”    7th Supplemental Report of Steve J. Martin Prepared for the U.S.

       Department of Justice Civil Rights Division/Special Litigation Section on the Harrison

       County Detention Center, Gulfport, MS February 1, 2005

              Exhibit “6”    Excerpt Deposition of Supervisor William Martin, Kasey D. Alves

       vs. Harrison County Mississippi, et al, Civil No. 1:06cv912, US District Court for the

       Southern District Court of Mississippi, Southern Division

              Exhibit “7”    Excerpt Deposition of Supervisor Robert Eleuterius, Kasey D.

       Alves vs. Harrison County Mississippi, et al, Civil No. 1:06cv912, US District Court for

       the Southern District Court of Mississippi, Southern Division

              Exhibit “8”    Excerpt Deposition of Supervisor Charles Larry Benefield, Kasey

       D. Alves vs. Harrison County Mississippi, et al, Civil No. 1:06cv912, US District Court

       for the Southern District Court of Mississippi, Southern Division

       Exhibit “9”    Report of Plaintiff’s Expert Witness, William Drechsel

       3.     Plaintiff further relies upon and incorporates herein his Memorandum of

Authorities being filed with the Court contemporaneously herewith.

       WHEREFORE, PREMISES CONSIDERED, the Plaintiff, Only Al-Khidhr, prays that

this Honorable Court will enter its order denying Defendant George Payne’s Motion for
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Summary Judgment and any other defendant who joined in said motion and that Plaintiff’s

claims be presented to a jury during the trial of this cause.

       RESPECTFULLY SUBMITTED, this the 25th day of October, 2010.

                                               ONLY AL-KHIDHR
                                               Plaintiff

                                               BY: CHASE CHASE & ASSOCIATES, PLLC


                                               BY:     /s/Alvin Chase________
                                                       ALVIN CHASE (MSB #5968)

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                                  CERTIFICATE OF SERVICE


       I, the undersigned, do hereby certify that I have this day electronically filed a true and

correct copy of the Plaintiff’s Response to Defendant George Payne’s Motion for Summary

Judgment with the Clerk of Court using the ECF system which sent notification of such filing to

the following:


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                 P.O. Box 2038
                 Natchez, MS 39121-2038

       Dated, this the 25th day of October, 2010.


                                                      __/s/Alvin Chase_____________________
                                                      ALVIN CHASE

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